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11                                UNITED STATES DISTRICT COURT

12                                       DISTRICT OF NEVADA

13 SWITCH, LTD,                                           Case No. 2:17-cv-02651-GMN-EJY
14                   Plaintiff,                           STIPULATION AND [PROPOSED]
15                                                        ORDER TO EXTEND TIME FOR
            v.
                                                          PLAINTIFF TO REPLY TO [ECF NO.
16 STEPHEN FAIRFAX; MTECHNOLOGY, et                       71] JONES LANG LASALLE, INC.’S
   al.,                                                   OPPOSITION TO PLAINTIFF
17                                                        SWITCH, LTD.’S MOTION TO
              Defendants.                                 COMPEL THIRD-PARTY JONES LANG
18                                                        LASALLE TO PROVIDE REQUESTED
                                                          DOCUMENTS
19
20          Plaintiff SWITCH, LTD. (“Switch”) and Third-Party JONES LANG LASALLE, INC.

21 (“Jones Lang LaSalle”) (collectively, the “Parties”), by and through their undersigned counsel, hereby

22 STIPULATE and AGREE, subject to the approval of the Court, as follows:

23          1.      On March 20, 2020, Plaintiff, Switch, filed its Motion to Compel Third-Party Jones

24 Lang LaSalle to Provide Documents, ECF No. 66 (the “Motion to Compel”).

25          2.      Defendants filed their Response to Motion to Compel Third-Party Jones Lang

26 LaSalle to Provide Requested Documents (ECF No. 68) on April 3, 2020, and Plaintiff filed its Reply

27 on April 10, 2020 (ECF No. 75).

28 ///


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 1           3.      On April 13, 2020, the Parties stipulated that Third-Party Jones Lang LaSalle shall be

 2 deemed to have accepted service effective March 26, 2020, that Third-Party Jones Lang LaSalle’s

 3 response to the Motion to Compel be filed by April 9, 2020, and that Plaintiff’s reply to Jones Lang

 4 LaSalle’s response shall be filed by April 16, 2020 (ECF No. 77).

 5           4.      On April 15, 2020, Third-Party Jones Lang LaSalle filed a Notice of Request for Oral

 6 Argument on the Motion to Compel (ECF No. 78),

 7           5.      Due to a family issue of one of Switch’s team members related to the current

 8 circumstances, Plaintiff’s reply to Jones Lang LaSalle, Inc.’s Opposition (ECF No. 71) shall be

 9 continued from April 16, 2020, to April 24, 2020.

10           6.      This is the second request for an extension of time related to the reply to Motion to

11 Compel.

12           7.      By entering this limited stipulation, Third-Party Jones Lang LaSalle does not consent

13 to the jurisdiction of this Court for any other purpose, and reserves all rights with respect to its ability

14 to oppose the Motion to Compel.

15           SO STIPULATED AND AGREED, this 17th of April, 2020.

16 SWITCH, LTD.                                           JOLLEY URGA WOODBURY & HOLTHUS

17    /s/: Samuel Castor                                    /s/: William R. Urga
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     Email: policy@switch.com                             Attorneys for Third-Party
21   Attorneys for Plaintiff                              Jones Lang LaSalle, Inc.
22                                          [PROPOSED] ORDER

23           IT IS HEREBY ORDERED, ADJUDGED, and DECREED as follows:

24           The date to file a reply to Third-Party Jones Lang LaSalle’s Opposition to Plaintiff’s Motion

25 to Compel (ECF No. 71) is extended to April 24, 2020.

26                                                        IT IS SO ORDERED.

27                                                        _____________________________________
                                                          UNITED STATES MAGISTRATE JUDGE
28
                                                           April 20, 2020
                                                          _____________________________________
                                                          DATED
                                                         2
